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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 Rodney Neeley, individually and on         )
 behalf of all others similarly situated,   )
                                            )
        Plaintiff,                          )
                                            )
        v.                                  )       No. 1:15-cv-1283-RLY-MJD
                                            )
 Portfolio Recovery Associates, LLC, a      )
 Delaware limited liability company,        )
                                            )
         Defendant.                         )

                                  STATEMENT OF CLAIMS

        Plaintiff, Rodney Neeley, individually and on behalf of all others similarly situated,

 pursuant to the Case Management Plan entered in this matter (Dkt. 24 at II.D), hereby

 sets forth the Statement of Claims he intends to prove at trial:

        1.      Section 1692e of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692

 et seq. (“FDCPA”) prohibits debt collectors from using and false, deceptive or

 misleading means to collect a debt, including, but not limited to, the false representation

 of the character, amount or legal status of any debt, see, 15 U.S.C. § 1692e(2)(A),

 and/or taking or threatening to take actions that cannot legally be taken in connection

 with the collection of a debt, see 15 U.S.C. § 1692e(5). By sending Mr. Neeley and the

 putative class collection letters which attempted to collect debts which were time-barred

 under Indiana Law, Defendant PRA violated § 1692e of the FDCPA, see, McMahon v.

 LVNV Funding, 744 F.3d 1010 (7th Cir. 2014); Phillips v. Asset Acceptance, 736 F.3d.

 1076, 1079 (7th Cir. 2013); Pantoja v. Portfolio Recovery Associates, 78 F.Supp. 3d

 743 (N.D. Ill. 2015); Green v. Monarch Recovery Management, 2015 U.S. Dist. LEXIS

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 98765 (S.D. Ind.)(Barker, J.) and Slick v. Portfolio Recovery Associates, 111 F.Supp.3d

 900 (N.D.Ill. 2015).

         2.    Section 1692f of the FDCPA prohibits a debt collector from using any

 unfair or unconscionable means to collect or attempt to collect a debt, see, 15 U.S.C. §

 1692f. By sending Mr. Neeley and the putative class collection letters which attempted

 to collect debts which were time-barred under Indiana Law, Defendant PRA violated §

 1692f of the FDCPA, see, McMahon, 744 F.3d at 1019-1022; Phillips, 736 F.3d. at

 1079.

         3.    Defendant’s attempted disclaimer concerning the age of the debts, i.e., the

 statement that, “[B]ecause of the age of your debt, we will not sue you for it and we will

 not report it to any credit reporting agency” was inadequate, and failed to inform Mr.

 Neeley and the putative class that Defendant PRA could not sue to collect the debt, and

 fails to inform them that a payment on the debt may restart the statute of limitations.

 Instead, the letters weakly state that PRA has chosen not to sue, which, coupled with

 the repeated demands for a payment plan, make it look as if the debt is still legally

 enforceable, see, Pantoja, 78 F.Supp. 3d at 746-747.



                                                  Respectfully submitted,

                                                  Rodney Neeley, individually and on
                                                  behalf of all others similarly situated,

                                                  By: s/David J. Philipps___________
                                                  One of Plaintiff’s Attorneys

 Dated: August 19, 2016




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                               CERTIFICATE OF SERVICE

        I hereby certify that on August 19, 2016, a copy of the foregoing Plaintiff’s
 Statement of Claims was filed electronically. Notice of this filing will be sent to the
 following parties by operation of the Court’s electronic filing system. Parties may
 access this filing through the Court’s system.


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